   Case 2:10-md-02179-CJB-DPC Document 735-2 Filed 11/15/10 Page 1 of 2


From:             Steve Herman
To:               Collins, Brian M. (ENRD)
Cc:               jimr@wrightroy.com; Swanson, Kristofor (ENRD); Brinkman, Joanna (ENRD); Bosshardt, Stacey (ENRD);
                  Montero, Guillermo (ENRD)
Subject:          In re Oil Spill by the Oil Rig Deepwater Horizon - Federal Defendants" Motion for Protective Order (Case nos.
                  10-1497; 10-1630)
Date:             Thursday, November 11, 2010 9:50:37 AM



As Plaintiffs’ Liaison Counsel, we take no position regarding the extent to which discovery may or
may not be appropriate in these actions, but can confirm that it was not Plaintiff Liaison Counsel’s
intention, in drafting and serving the Initial Omnibus Discovery Requests, that responses to such
requests would be furnished by any officers or agents of the United States.

From: Collins, Brian M. (ENRD) [mailto:Brian.M.Collins@usdoj.gov]
Sent: Wednesday, November 10, 2010 10:23 AM
To: Steve Herman; jimr@wrightroy.com
Cc: Swanson, Kristofor (ENRD); Brinkman, Joanna (ENRD); Bosshardt, Stacey (ENRD); Montero,
Guillermo (ENRD)
Subject: In re Oil Spill by the Oil Rig Deepwater Horizon - Federal Defendants' Motion for Protective
Order (Case nos. 10-1497; 10-1630)

Plaintiffs’ Liaison Counsel,

As you are aware, on Oct. 15 Judge Barbier granted MDL plaintiffs’ request to amend Pretrial Order
#1 to allow service of an omnibus discovery request on all defendants. There are two cases filed by
Gulf Restoration Network against the U.S. Department of Interior and Secretary Salazar (case nos.
10-1497 and 10-1630) that are Administrative Procedure Act cases, not tort actions. We have
moved to sever these cases from the MDL (Docket #174), but the Court has not yet ruled on that
motion. Given the fact that the discovery requests are directed at the defendants in the tort cases
and does not relate to the claims asserted in either GRN case, and the fact that discovery is
inappropriate in APA cases, we intend to move for a protective order to prevent the omnibus
discovery request from applying to the federal defendants in 10-1497 and 10-1630.

Pursuant to local rule 37.1, we are writing to seek Plaintiffs’ position on this motion for protective
order. We have conferred directly with plaintiffs’ counsel for the two GRN cases and they have
indicated that they will oppose the motion, while intervenors in those cases do not oppose. Please
let me know as soon as possible if Plaintiffs oppose the motion, and feel free to contact me with
any questions.

Thank you,


Brian Collins
Trial Attorney
U.S. Dept. of Justice ENRD
Natural Resources Section
P.O. Box 663
Washington, DC 20044-0663
                                                                                                            EXHIBIT A
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